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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                Plaintiff,                                  8:16CR73

     vs.

NASARIO SANCHEZ,

                Defendant.



UNITED STATES OF AMERICA,                                   8:16CR76

                Plaintiff,

     vs.

RANDY CASILLAS, and
RYAN GABEL,

                Defendants.


UNITED STATES OF AMERICA,

                Plaintiff,                                  8:13CR78

     vs.

AARON M. NUNNENKAMP,

                Defendant.


UNITED STATES OF AMERICA,

                Plaintiff,                                  8:16CR82

     vs.

JESSE D. KLEMPTER,

                Defendant.
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UNITED STATES OF AMERICA,

                     Plaintiff,                                   8:16CR86

         vs.

BRETT SMYTH,

                     Defendant.


UNITED STATES OF AMERICA,
                     Plaintiff,                                 8:16CR87
         vs.
VIRGIL APODACA, JR. and
ANTHONY APODACA,
                     Defendant.
__________________________________


                                             ORDER
         During the arraignments of the above defendants on February 26, 2016, the
government requested an additional thirty days in which to provide discovery.
None of the defendants had any objection to the request. The request is granted
and discovery shall be completed on or before April 4, 2016. The ends of justice
have been served by granting such motion and outweigh the interests of the
public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between March 4, 2016, and April 4,
2016, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason counsel require additional time
to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case.                The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         Dated this 29th day of February, 2016.
                                                          BY THE COURT:
                                                          s/ Thomas D. Thalken
                                                          U.S. Magistrate Judge
